243 F.2d 169
    Granville HINTON, Plaintiff-Appellant,v.William ROBERTS, Victor A. Roberts, and Martin Flamm,Defendant-Appellees.
    No. 260, Docket 24363.
    United States Court of Appeals Second Circuit.
    Argued March 13, 1957.Decided April 12, 1957.
    
      Kenneth L. Shorter, New York City, for plaintiff-appellant.
      Victor A. Roberts, New York City, for defendants-appellees.
      Before HINCKS, STEWART and LUMBARD, Circuit Judges.
      PER CURIAM.
    
    
      1
      In the complaint, jurisdiction is ostensibly laid on federal questions allegedly arising under the Constitution and the federal civil rights acts, 42 U.S.C.A. § 1981 et seq.; 18 U.S.C.A. §§ 241, 242, and under 18 U.S.C.A. § 1705.  However, the facts alleged show only controversy as to the title and the right to possession of New York real estate and appurtenances allegedly owned by a church of which the plaintiff is the alleged minister and as to the legality of acts of the defendants in evicting the plaintiff therefrom.  Diversity of citizenship was not alleged.  Thus the real controversy was essentially local.  The assertion that the controversy was one arising under the laws of the United States is clearly an artificial attempt to create federal jurisdiction.
    
    
      2
      The action was rightly dismissed for lack of federal jurisdiction.
    
    
      3
      Affirmed.
    
    